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                           UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF MISSISSIPPI

IN RE: LONNIE P. WALKER                                            CASE NO.: 14-02150-NPO
ARETHA R. WALKER                                                   CHAPTER: 13

                                         AGREED ORDER

       THIS DAY, Motion for Entry of Discharge (Dk# 70) filed by the Debtors and the

Objection to Motion for Entry of Discharge (Dk#71) filed by U.S. Bank National Associationas

Trustee of Chalet Series III Trust ("Creditor"), in the above styled and numbered case, came on

for consideration and the Court has been advised that the parties have reached the following

agreement:

       1.      Creditor is a secured creditor in the above entitled case by virtue of its holding a note

secured by a deed of trust affecting property of Debtors is located at 1060 Old Highway 27 Road

#1, Crystal Springs, MS 39059. The Note and Deed of Trust is payable in monthly installments

and the property affected is the home of the Debtors.

       2.       The monthly mortgage payments were to be paid direct and outside the plan, and

the Debtor is in default on post-petition monthly mortgage payments from January 2016 through

January 2019 for a total amount of due of $32,405.24. For this reason, the Debtors have failed to

make all payments under the plan.
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       3.     The parties agree that the Debtors are responsible for the delinquency in the

amount of $32,405.24 to Creditor and may still be Discharged from the Bankrupcty.

       4.     The Objection to Motion for Entry of Discharge (Dk#71) is hereby resolved.


                                    ##END OF ORDER##




APPROVED:

/s/ Elizabeth Crowell
Elizabeth Crowell
Attorney for Creditor


/s/ Robert Rex McRaney, Jr.     (via email)
Robert Rex McRaney, Jr.
Attorney for Debtor


/s/ Justin B. Jones, Attorney for Trustee     (via email)
Harold H. Barkley, Jr. , Trustee
Or Attorney for Trustee


Presented by:
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